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U.S. DISTRICT COURT
RN DISTRICT OF LOUISIANA
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JUN 2 22023 UNITED STATES DISTRICT COURT
rowrR. Moof px J WESTERN DISTRICT OF LOUISIANA
er C7 BeRpTY LAFAYETTE DIVISION

UNITED STATES OF AMERICA * CRIMINAL NO.
x 18 U.S.C. § 513(a)
* 18 U.S.C. § 514(a)
18 U.S.C. § 1344

x 18 U.S.C. § 1028A
*
*
*

VERSUS 18 U.S.C. § 922(g)(9)

6:23-cr-00143 —O]
CAMERON MICHAEL MARKS Judge Hicks

Magistrate Judge Whitehurst
INDICTMENT

THE FEDERAL GRAND JURY CHARGES:

COUNT 1

SECURITIES FRAUD
18 U.S.C. § 5138

On or about July 12, 2022, in the Western District of Louisiana, the defendant,
CAMERON MICHAEL MARKS, did knowingly make and possess a counterfeited and
forged security, to wit: a money order, of Western Union, an organization as defined
by Title 18 United States Code, Section 513(c)(4), which operates in and the activities
of which affect interstate or foreign commerce, with the intent to deceive another
person, in violation of Title 18, United States Code, Section 513(a). [18 U.S.C. §

513(a)].

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COUNT 2

PASSING FICTITIOUS OBLIGATIONS
18 U.S.C. § 514(a)(2)

On or about June 23, 2022, in the Western District of Louisiana, the defendant,
CAMERON MICHAEL MARKS, with the intent to defraud, knowingly passed or
uttered a false or fictitious instrument, appearing, representing, purporting, and
contriving through scheme or artifice to be an actual security and financial
instrument issued under the authority of an organization as defined by Title 18,
United States Code, Section 513(c), to wit, a check, numbered 60 drawn on JPMorgan
Chase Bank, N.A. for $838.52 made payable to Cameron Marks; all in violation of

Title 18, United States Code, Section 514(a)(2). [18 U.S.C, § 514(a)(2)].

COUNT 3

BANK FRAUD
18 U.S.C. § 1844(2)

On or about May 26, 2022, in the Western District of Louisiana, the defendant,
CAMERON MICHAEL MARKS, did knowingly execute a scheme and artifice to
obtain moneys, funds, credits, assets, securities, and other property owned by or
under the custody or control of Capital One Bank, N.A. and Community First Bank,
both federally insured financial institutions, and attempted to do so, by means of false
and fraudulent pretenses, representations, and promises in that the defendant
opened a checking account bearing account number XXXXXXX5006 in the name of
D.A. at Capital One Bank and deposited a fraudulent check drawn on an account at

Community First Bank into the Capital One account without the knowledge or

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consent of D.A. in violation of Title 18, United States Code, Section 1344(2). [18 U.S.C.
§ 1344(2)).

COUNT 4

AGGRAVATED IDENTITY THEFT
18 U.S.C. § 1028A(a)(1)

On or about May 26, 2022, in the Western District of Louisiana, the defendant,
CAMERON MICHAEL MARKS, did knowingly use, without lawful authority, a
means of identification of another person during and in relation to a felony violation
enumerated in 18 U.S.C. § 1028A(c), to wit; the name and date of birth of D.A,,
knowing that the means of identification belonged to another actual person. The
defendant did so in relation to the commission of a felony enumerated in Title 18,
United States Code, Section 1028A(c), to wit: 18 U.S.C. § 1344; all in violation of Title
18, United States Code, Section 1028A(a)(1). [18 U.S.C. § 1028A(a)(1)].

COUNT 5

BANK FRAUD
18 U.S.C. § 1344(2)

On or about June 11, 2022, in the Western District of Louisiana, the defendant,
CAMERON MICHAEL MARKS, did knowingly execute a scheme and artifice to
obtain moneys, funds, credits, assets, securities, and other property owned by or
under the custody or control of Capital One Bank, N.A. and JPMorgan Chase Bank,
N.A., both federally insured financial institutions, and attempted to do so, by means
of false and fraudulent pretenses, representations, and promises in that the
defendant opened a checking account bearing account number XXXXXXX4912 in the

name of D.A. at Capital One Bank and deposited a fraudulent check drawn on an

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account at JPMorgan Chase Bank into the Capital One account without the
knowledge or consent of D.A. in violation of Title 18, United States Code, Section
1344(2), [18 U.S.C. § 1344(2)].

COUNT 6

AGGRAVATED IDENTITY THEFT
18 U.S.C. § 1028A(a)(1)

On or about June 11, 2022, in the Western District of Louisiana, the defendant,
CAMERON MICHAEL MARKS, did knowingly use, without lawful authority, a
means of identification of another person during and in relation to a felony violation
enumerated in 18 U.S.C. § 1028A(c), to wit; the name and date of birth of D.A.,
knowing that the means of identification belonged to another actual person. The
defendant did so in relation to the commission of a felony enumerated in Title 18,
United States Code, Section 1028A(c), to wit: 18 U.S.C. § 1344; all in violation of Title

18, United States Code, Section 1028A(a)(1). [18 U.S.C. § 1028A(a)(1)J.

COUNT 7

BANK FRAUD
18 U.S.C. § 1344(2)

On or about June 20, 2022, in the Western District of Louisiana, the defendant,
CAMERON MICHAEL MARKS, did knowingly execute a scheme and artifice to
obtain moneys, funds, credits, assets, securities, and other property owned by or
under the custody or control of The Bank of Missouri, a federally insured financial
institution, and attempted to do so, by means of false and fraudulent pretenses,

representations, and promises in that the defendant opened an account in the name

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of B.M. through Continental Finance without the knowledge or consent of B.M. in
violation of Title 18, United States Code, Section 1344(2). [18 U.S.C. § 1344(2)}.
COUNT 8

AGGRAVATED IDENTITY THEFT
18 U.S.C. § 1028A(a)(1)

On or about June 20, 2022, in the Western District of Louisiana, the defendant,
CAMERON MICHAEL MARKS, did knowingly use, without lawful authority, a
means of identification of another person during and in relation to a felony violation
enumerated in 18 U.S.C. § 1028A(c), to wit; the name, social security number, and
date of birth of B.M., knowing that the means of identification belonged to another
actual person. The defendant did so in relation to the commission of a felony
enumerated in Title 18, United States Code, Section 1028A(c), to wit: 18 U.S.C. §
1344: all in violation of Title 18, United States Code, Section 1028A(a)(1). [18 U.S.C.

§ 1028A(a)(1)].

COUNT 9

POSSESSION OF A FIREARM BY A PROHIBITED PERSON
18 U.S.C. § 922(g)(9)

On or about July 12, 2022, in the Western District of Louisiana, the defendant,
CAMERON MICHAEL MARKS, knowingly possessed a firearm that had been
shipped or transported in interstate commerce, that is, one Keltech .22 caliber pistol,
serial number ME253. The defendant had been convicted of a misdemeanor crime of
domestic violence, to wit: domestic abuse battery, a violation of Louisiana Revised

Statutes 14:35.3, on April 3, 2018, docket number 2018-CR-104. At the time he

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possessed the firearm, the defendant knew that he had been convicted of this
misdemeanor; all in violation of Title 18, United States Code, Section 922(g)(9). [18

U.S.C. § 922(g)(9)].

Forfeiture Allegation
[18 U.S.C. § 924(d)(1)]

(A) The allegations contained in Count 9 are incorporated by reference for
the purpose of alleging forfeiture pursuant to the provisions of Title 18, United States
Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c). [18 U.S.C.
§ 924(d)(1) and 28 U.S.C. § 2461(c)].

(B) Asaresult of the violations in Count 9 of this Indictment, the defendant,
CAMERON MICHAEL MARKS, shall forfeit to the United States his interest in any
firearm involved in or possessed during those offenses, including:

(1) One (1) Keltech, .22 caliber pistol, serial number ME253, as
described in Count 1 of this Indictment;

in violation of Title 18, United States Code, Section 924(d)(1) [18 U.S.C. § 924(d)(1)].

A TRUE BILL:

REDACTED

GRAND JURY FOREPKRSON

BRANDON B. BROWN
United Stat

CRA . BORDELON, II

La. Bar No. 34450

Assistant United States Attorney
800 Lafayette Street, Suite 2200

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